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                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION



UNITED STATES OF AMERICA,                    )       Case No.: 1:10 CR 150-04
                                             )
       Plaintiff                             )
                                             )
       v.                                    )       JUDGE SOLOMON OLIVER, JR.
                                             )
DORA FERNANDEZ-MONTALVO,                     )       ORDER ACCEPTING PLEA
                                             )       AGREEMENT, JUDGMENT AND
       Defendant                             )       REFERRAL TO U. S. PROBATION
                                             )       OFFICE




       This case is before the Court on a Report and Recommendation filed by United States

Magistrate Judge Kenneth S. McHargh, regarding the change of plea hearing of Dora Fernandez-

Montalvo, which was referred to the Magistrate Judge with the consent of the parties.

       On April 7, 2010, the government filed a thirty-seven-count Indictment, charging Defendant

Fernandez-Montalvo, with: Conspiracy to Distribute Controlled Substance, in violation of Title 21

United States Code, Section 846; Conspiracy to Commit Money Laundering, in violation of Title

18 United States Code, Section 1956(h); Distribution of Schedule III Controlled Substance, Based

on Prescriptions Issued Outside the Usual Course of Professional Medical Practice and Not for a

Legitimate Medical Purpose, in violation of Title 21 United States Code, Section 841(a)(1),

(b)(1)(D) and Title 18 United States Code 2. Defendant Fernandez-Montalvo was arraigned on May

10, 2010, and entered a plea of not guilty to Counts 1, 2, 3-18, 21 and 23, before Magistrate Judge

William H. Baughman, Jr. On May 11, 2012, Magistrate Judge Kenneth S. McHargh, received
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Defendant Fernandez-Montalvo’s plea of guilty to Counts 1 and 2 of the Indictment, and issued a

Report and Recommendation (“R&R”), concerning whether the plea should be accepted and a

finding of guilty entered.

          Neither party submitted objections to the Magistrate Judge’s R.R. in the ten days after it was

issued.

          On de novo review of the record, the Magistrate Judge’s R&R is adopted. Defendant

Fernandez-Montalvo is found to be competent to enter a plea and to understand her constitutional

rights. She is aware of the charges and of the consequences of entering a plea. There is an adequate

factual basis for the plea. The Court finds the plea was entered knowingly, intelligently, and

voluntarily. The plea agreement is approved.

          Therefore, Defendant Fernandez-Montalvo is adjudged guilty to Counts 1 and 2 of the

Indictment, in violation of Title 21 United States Code, Section 846, Conspiracy to Distribute

Controlled Substance and Title 18 United States Code, Section 1956(h), Conspiracy to Commit

Money Laundering. This matter was referred to the U. S. Probation Department for the completion

of a pre-sentence investigation and report. Sentencing will be on July 27, 2012, at 2:00 p.m., in

Courtroom 19-A, Carl B. Stokes United States Court House, 801 West Superior Avenue, Cleveland,

Ohio.

          IT IS SO ORDERED.


                                                        /s/SOLOMON OLIVER, JR.
                                                        CHIEF JUDGE
                                                        UNITED STATES DISTRICT COURT
May 29, 2012




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